      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 1 of 9




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                        *           CRIMINAL NO. 21-177

 v.                                              *           SECTION: “B”

 SEAN MARTIN                                     *

                                         *       *       *

                         GOVERNMENT’S MEMORANDUM IN
                      SUPPORT OF ITS MOTION FOR DETENTION

       NOW INTO COURT comes the United States of America, represented herein by the

undersigned Assistant United States Attorney, who respectively submits this memorandum in

support of its oral motion that defendant, Sean Martin, be detained pending trial.

                                 SUMMARY OF ARGUMENT

       Defendant, previously convicted in this District with a serious drug felony, is charged here

with conspiring to distribute over one kilogram of heroin, over 400 grams of fentanyl, and cocaine

hydrochloride in the New Orleans metropolitan area, as well as with possessing a firearm in

furtherance of his drug trafficking activities. As a consequence, he faces a 20-year mandatory

minimum sentence, providing him with significant incentive to flee or obstruct justice. His prior

10-year federal sentence and period of supervised release did not deter him from further criminal

activity, and if released, he is likely to commit additional crimes. Defendant is both a flight risk

and a danger to the community, and therefore, should be detained.
       Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 2 of 9




                                        PROCEDURAL HISTORY

         In December 2021, a grand jury in the Eastern District of Louisiana returned a six-count

indictment charging defendant and two other individuals 1 with violations of the Controlled

Substances Act and the Federal Gun Control Act. Specifically, defendant was charged with one

count of conspiracy to distribute and possess with the intent to distribute heroin, fentanyl, and

cocaine hydrochloride, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(C) and 846;

one count of possession with the intent to distribute heroin, fentanyl, and cocaine hydrochloride,

in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(C) and 18 U.S.C. § 21; one count

of possession of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C.

§ 924(c)(1)(A)(i) and 2; one count of being a felon in possession of a firearm, in violation of 18

U.S.C. §§ 922(g)(1) and 924(a)(2); and one count of distribution of heroin, in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Defendant was arrested on January 6, 2022, and his initial

appearance occurred on January 7, 2022. At his initial appearance, the government orally moved

for defendant’s detention. (Rec. Doc. 13.)

                                       FACTUAL BACKGROUND

         This indictment arises out of a long-term wiretapping investigation conducted by the Drug

Enforcement Administration (“DEA”) in late 2019. During that time, the Court issued an order

authorizing wiretapping over a cellular telephone utilized by defendant. Over that wiretap, DEA

intercepted numerous telephone calls related to drug trafficking.

         For instance, DEA intercepted telephone calls on November 13, 2019 between defendant

and Co-conspirator-1. During those calls, defendant and Co-conspirator-1 arranged to meet at a

location in New Orleans, where defendant planned to provide Co-conspirator-1 with a quantity of


1
  Those two individuals have yet to be arrested, and the indictment remains sealed as to those two co-defendants at
this time. Herein, the government refers to those individuals as Coconspirator-1 and Coconspirator-2.

                                                         2
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 3 of 9




heroin. At around that time, DEA conducted surveillance and observed defendant at an apartment

complex near City Park, in New Orleans. Additionally, DEA obtained surveillance video from

inside the complex showing defendant entering and exiting an apartment, which was the residence

of Co-conspirator-2. Defendant traveled directly from the apartment complex to the meeting with

Co-conspirator-1. DEA followed Co-conspirator-1 to another location, where he was stopped and

searched. DEA seized approximately 53 grams of heroin from Co-conspirator-1, which based on

the aforementioned evidence, was distributed by defendant.

       Later that day, DEA intercepted a telephone call between defendant and Co-conspirator-2,

during which defendant described that he was “heading to the trap.” Agents know that the term

“trap” or “trap house” is commonly used by drug traffickers to refer to locations where they store

drugs. At that time, surveillance video from the aforementioned apartment complex showed

defendant entering Co-conspirator-2’s apartment.

       On November 19, 2019, members of DEA executed a federal search warrant at Co-

conspirator-2’s apartment. DEA searched in the ceiling in the bathroom and located a total of

approximately 562 grams of a mixture of heroin and fentanyl, approximately 683 grams of heroin,

approximately 8 grams of heroin and cocaine, and approximately 13 grams of cocaine

hydrochloride. Additionally, next to the drugs, DEA located approximately $2,000 of U.S.

currency and one loaded Smith and Wesson 9mm semiautomatic pistol. The below photograph

depicts some of the contraband seized from the apartment.




                                                3
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 4 of 9




       In June 2021, members of the DEA traveled to defendant’s residence to attempt to

interview him regarding his drug-trafficking activities. On that date, defendant spoke to agents

and denied any involvement. Agents then left the area but continued to conduct surveillance of

defendant. Defendant traveled to another location where several other targets of this investigation

were located. Defendant met privately with one of those targets and engaged in a conversation.

DEA believes that defendant informed that individual of the existence of the DEA investigation as

an attempt to obstruct justice. Subsequently, DEA attempted to contact defendant over the

telephone to arrange to provide him with a target letter, but defendant would not answer the phone

and otherwise avoided law enforcement.

                           DEFENDANT’S CRIMINAL HISTORY

        This is not defendant’s first interaction with the federal criminal justice system. In 2000,

in the United States District Court for the Eastern District of Louisiana, under case number 99-cr-

                                                 4
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 5 of 9




00088-SSV, defendant was convicted of conspiracy to distribute cocaine hydrochloride, in

violation of 21 U.S.C. § 846. Defendant was sentenced to 120 months of imprisonment followed

by 5 years of supervised release. Due to this prior conviction, defendant faces an enhanced

mandatory minimum sentence of 15 years imprisonment on counts 1 and 2 of the indictment.

Additionally, count 3 carries a mandatory minimum sentence of 5 years, which must run

consecutively to any other term of imprisonment. See 18 U.S.C. § 924(c). Consequently, if

convicted of the charges in the indictment, defendant faces an aggregate mandatory minimum

sentence of 20 years imprisonment, up to life imprisonment, followed by at least 10 years of

supervised release.

                                         ARGUMENT

       Defendant should be detained pending trial. For the reasons discussed below, defendant

poses both a risk of flight and a danger to the community, and therefore, cannot overcome the

statutory presumption in favor of detention in this case. Under 18 U.S.C. § 3142, upon a finding

that no condition or combination of conditions “will reasonably assure the appearance of [the

defendant] as required and the safety of any other person and the community,” the judicial officer

shall order the defendant detained pending trial. The government must show risk of flight by a

preponderance of the evidence and risk of danger to the community by clear and convincing

evidence. United States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985); 18 U.S.C. § 3142(f). “For

pretrial detention to be imposed on the defendant, the lack of reasonable assurance of either the

defendant’s appearance, or the safety of others or the community is sufficient; both are not

required.” United States v. Rueben, 974 F.2d 580, 586 (5th Cir. 1992).

       The factors to be considered in making such a determination are outlined in 18 U.S.C.

§ 3142(g), and include: (1) the nature and circumstances of the offense charged, including whether



                                                5
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 6 of 9




it involves a controlled substance; (2) the weight of evidence against the defendant; (3) the history

and characteristics of the defendant, including her financial resources and criminal history; and (4)

the nature and seriousness of the danger to any person or the community that would be posed by

the person’s release. With respect to the danger to the community, a risk of continued drug

trafficking constitutes a risk to the community. See Rueben, 974 F.2d at 586.

       Further, section 3142(e) provides for a statutory rebuttable presumption that no such

condition or combination of conditions exist which will reasonably assure the appearance of the

person as required and the safety of the community, if the judicial officer finds that there is

probable cause to believe that, as here, the defendant committed a violation of the Controlled

Substances Act that is punishable by 10 or more years of imprisonment or an offense under 18

U.S.C. § 924(c). An indictment provides probable cause that a defendant committed an offense.

United States v. Trosper, 809 F.2d 1107, 1110 (5th Cir. 1987). The rules of evidence do not apply

at detention hearings, and the government is entitled to present evidence by way of proffer, among

other means. See 18 U.S.C. § 3142(f); United States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996)

(every circuit to consider the issue has permitted the government to proceed by way of proffer in

a detention hearing); United States v. Gaviria, 828 F.2d 667, 669 (11th Cir. 1987); United States

v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United States v. Winsor, 785 F.2d 755, 756 (9th

Cir. 1986); United States v. Acevedo-Ramos, 755 F.2d 203, 206-07 (1st Cir. 1985); see also United

States v. Perez, 17 F.Supp.3d 586, 595 n.10 (S.D. Tex. 2014) (“[I]t is generally accepted that the

government may proceed by proffer at a detention hearing.”).

       I.      Defendant Poses a Flight Risk

       The nature of the charged conduct in this case, the seriousness of the offenses, and the

characteristics of defendant demonstrate that he is a flight risk. First, the nature and circumstances



                                                  6
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 7 of 9




of the offense favor detention. As described in the indictment, defendant is charged with serious

criminal conduct involving firearms and controlled substances. Moreover, he is a repeat serious

drug offender, having been previously convicted in this Court with a drug felony resulting in a

sentence of 10 years of imprisonment. As the Fifth Circuit has recognized, “drug offenders pose

a special risk of flight and dangerousness to society.” United States v. Hare, 873 F.2d 796, 798-

99 (5th Cir. 1989). This risk of flight is only enhanced when the defendant possesses firearms to

protect his drug enterprise.

       In addition, there is a presumption of detention because defendant is charged with

violations of the Controlled Substances Act carrying a mandatory minimum of 15 years, as well

as violations of 18 U.S.C.§ 924(c). In sum, defendant faces an aggregate mandatory minimum

sentence of at least 20 years. Defendant, therefore, has a strong incentive to flee. See United

States v. Prieto, 19 F.3d 16 (5th Cir. 1994) (lengthy prison sentence of over 10 years consideration

in favor of detention). Moreover, as described above, when approached by law enforcement, he

actively avoided further contact and attempted to obstruct justice by likely warning other targets

of the existence of the investigation. Only detention would ensure defendant’s appearance in court.

       II.     If Released, Defendant is Likely to Continue to Engage in Criminal Conduct

       Defendant also poses a danger to the community. Several courts have noted the particular

danger presented by the combination of guns and drugs. See United States v. Pitts, No. 09-204,

2010 WL 3303800, at *4-5 (W.D. Penn. Aug. 19, 2010) (collecting cases); cf. United States v.

Dorsey, No. 11-119, 2021 WL 2593525, at *5 (E.D. La. June. 24, 2021) (Morgan, J.) (“The

combination of drugs and guns constitutes a very serious danger to the community.”) Here, the

drugs and firearm were possessed by defendant and Co-conspirator-2 in a residential apartment

building where numerous other individuals resided, creating a danger to residents and visitors.



                                                 7
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 8 of 9




       Additionally, defendant’s illegal activity is unlikely to stop if he is ordered released. After

he was convicted of federal drug charges, served a 10-year sentence, and served an additional

period of supervised release, he returned to drug trafficking. Indeed, his conduct appears to be

escalating given the presence of a firearm. Additionally, when confronted by law enforcement,

his first impulse was to attempt to obstruct justice by warning other members of his drug

organization. Given that a prior conviction and period of supervision did not deter defendant from

further criminal activity, it is likely that were he to be released, defendant would again commit

further criminal activities. Defendant constitutes a continuing danger to the community, and

should be detained pending trial.

                                         CONCLUSION

       Here, both the risk that defendant will flee and the danger that the defendant poses to the

community demonstrates that only detention will mitigate those risks. Accordingly, the

government respectfully submits that defendant cannot meet his burden to overcome the

presumption of detention, and that there are no conditions of bail that would assure defendant’s

future appearance in court or preserve the safety of the community.




                                                 8
      Case 2:21-cr-00177-ILRL-KWR Document 17 Filed 01/07/22 Page 9 of 9




       WHEREFORE, the Government respectfully submits that defendant should be detained

pending trial.

                                                     Respectfully submitted,

                                                     DUANE A. EVANS
                                                     UNITED STATES ATTORNEY


                                                     /s/ Jonathan L. Shih
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2022, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system which will send a notice of electronic filing to all defense
counsel of record.

                                                     /s/ Jonathan L. Shih
                                                     JONATHAN L. SHIH
                                                     Assistant United States Attorney




                                                 9
